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   13
                                   UNITED STATES DISTRICT COURT
   14
                CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   15
   16
      MEGAN SCHMITT, DEANA                       Case No. 8:17-cv-01397-JVS-JDE
   17 REILLY, CAROL ORLOWSKY, and
      STEPHANIE MILLER BRUN,                     JOINT STIPULATION CONTINUING
   18 individually and on behalf of              TRIAL SETTING CONFERENCE
      themselves and all others similarly        AND HEARING ON YOUNIQUE,
   19 situated,                                  LLC’S MOTION FOR
                                                 DECERTIFICATION
   20                     Plaintiffs,
   21            v.                              The Hon. James V. Selna
                                                 Santa Ana, Courtroom 10C
   22 YOUNIQUE, LLC
                                                 SACC filed:    January 4, 2018
   23                     Defendant.
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        SMRH:4842-5234-3194.1                                          JOINT STIPULATION
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    1            WHEREAS the Court set a trial setting conference for May 13, 2019
    2 (Dkt. 237), which, following stipulation, the Court most recently continued to June
    3 17, 2019 (Dkt. 239);
    4
    5            WHEREAS the hearing on defendant Younique, LLC’s motion for
    6 decertification had also been continued most recently to June 17, 2019 (Dkt. 242);
    7
    8            WHEREAS counsel for plaintiffs and defendant believe that their clients have
    9 reached an agreement in principle, and counsel are in the process of reducing to a
   10 written terms sheet for their clients’ confirmations to be followed by a written
   11 settlement agreement.
   12
   13            The parties, through their counsel, hereby STIPULATE and REQUEST as
   14 follows:
   15
   16            1.       The trial setting conference and hearing on defendant’s motion to
   17 decertify be taken off calendar; and
   18
   19            2.       The deadline by which plaintiffs will file a motion for preliminary
   20 approval is July 29, 2019.
   21
   22            IT IS SO STIPULATED.
   23
   24 Dated: June 14, 2019              SHEPPARD, MULLIN, RICHTER & HAMPTON, LLP
   25
   26
                                        By: /s/ Abby Meyer
   27                                       Sascha Henry, Esq.
                                            Jonathan D. Moss, Esq.
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        SMRH:4842-5234-3194.1                                                     JOINT STIPULATION
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    1                                          Abby H. Meyer, Esq.
                                               Attorneys for Defendant Younique, LLC
    2
    3
        Dated: June 14, 2019             THE SULTZER LAW GROUP P.C.
    4
    5
    6                                    By: /s/ Jason Sultzer
                                             Jason P. Sultzer, Esq.
    7                                        Joseph Lipari, Esq.
    8                                        Adam Gonnelli, Esq.
                                             Attorneys for Plaintiffs Megan Schmitt, Deana
    9                                        Reilly, Carol Orlowsky and Stephanie Miller Brun
   10
                                               ATTESTATION
   11
   12                     Pursuant to L.R. 5-4.3.4, I hereby attest that all signatories listed above,

   13 and on whose behalf this filing is submitted, concur in the filing’s content and have
   14 authorized the filing.
   15                     Executed this 14th day of June 2019 at Costa Mesa, California.

   16
   17
                                                   /s/ Abby Meyer
   18                                                               ABBY MEYER
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        SMRH:4842-5234-3194.1                                                        JOINT STIPULATION
